Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17 Page1of9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |

Biloxi Department of Police
Law Enforcement
Policies and Procedures

Subject: Arrest Procedures Policy Number: 4.8
Issue Date: 01 March 2007 Last Review: 01 Jan 2015
Latest Revision: 01 Jan 2015

Approval Authority
Title and Signature: Director John B. Miller

POLICY:

itis the policy of the Biloxi Department of Police that any criminal arrests with or without
a warrant be made by Sworn Police Officers in accordance with state statutes; i.e., the
Annotated Mississippi Code of 1972, Title 99 Chapter 3 Section 1, Title 99 Chapter 3
Section 3, Title 99 Chapter 3 Section 7, Title 99 Chapter 3 Section 14, Title 99 Chapter
3 Section 13 and Title 41 Chapter 29 Section 159.

Furthermore, the Biloxi Department of Police uses only legal justification and
established procedures to initiate and affect an arrest. As a part of the arrest process,

officers will provide all suspects /ega! warning and protection as required by the United
States Constitution and State law.

PROCEDURE:
Authorizations

A. Title 99 Chapter 3 Section {states that certain individuals may make an arrest for
crimes and offenses within the State of Mississippi:

“Arrests for crimes and offenses may be made by the sheriff or his deputy or by
any constable or conservator of the peace within his county, or by any marshal or
policeman of a city, town or village within the same, or by any United States
Marshal or Deputy United States Marshal, or, when in cooperation with local law
enforcement Officers, by any other federal law enforcement Officer who is
employed by the United States government, authorized to effect an arrest for a
violation of the United States Code, and authorized to carry a firearm in the
performance of his duties. Private persons may also make arrests.”

B, Title 99 Chapter 3 Section 7 states that an arrest may be made without a warrant
if:

RESTRICTED LAW ENFORCEMENT DATA
This dala is proprietary and will not be duplicated, disclosed, or discussed, withoul (he wrilten permission of this agency. Date
subject to this restriction is contained througheut this publication.

Page 1 of 3 1/1/2015

EXHIBIT
Policies - 1 qd "

' Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17 Page 2of9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |

1. “An officer or private person may arrest any person without warrant, for an
indictable offense committed, or a breach of the peace threatened or
attempted in his presence; or when a person has committed a felony,
though not in his presence; or when a felony has been committed, and he
has reasonable ground to suspect and believe the person proposed to be
atrested to have committed it; or on a charge, made upon reasonable
cause, of the commission of a felony by the party proposed to be arrested.
And in all cases of arrests without warrant, the person making such arrest
must inform the accused of the object and cause of the arrest, except
when he is in the actual commission of the offense, or is arrested on
pursuit.”

2. “Any law enforcement officer may arrest any person on a misdemeanor
charge without having a warrant in his possession when a warrant is in
fact outstanding for that person's arrest and the officer has knowledge
fhrough official channels that the warrant is outstanding for that person's
arrest. tn all such cases, the officer making the arrest must inform such
person at the time of the arrest the object and cause therefore. If the

person arrested so requests, the warrant shall be shown to him as soon
as practicable.”

3. Any law enforcement officer shall arrest a person with or without a warrant
when he has probable cause to believe that the person has, within twenty-
four (24) hours of such arrest, knowingly committed a misdemeanor which
is an act of domestic violence or knowingly violated provisions of an ex
parte protective order, protective order after hearing or court-approved
consent agreement entered by a chancery, county, justice or municipal
court pursuant to the Protection from Domestic Abuse Law, Sections 93-
21-1 through 93-21-29, Mississippi Code of 1972, or a restraining order
entered by a foreign court of competent jurisdiction to protect an applicant
from domestic violence as defined by Section 97-3-7 that require such
person to absent himself from a particular geographic area, or prohibit
such person from being within a specified distance of another person or
persons,

C. Title 99 Chapter 3 Section 3 allows for “Arrests for criminal offense, and to
prevent a breach of the peace, or the commission of a crime, may be made at
any time or place."

D. Title 98 Chapter 3 Section 13 makes provision for the pursuit and arrest of
persons committing an offense with the corporate limits of the City of Biloxi:

RESTRICTED LAW ENFORCEMENT DATA
This data is proprietary and will not be duplicated, disclosed, or discussed, without the written permission of this agency. Data
subject fo this restriction is contained throughout this publication.

Page 2 of 9 1/1/2018

Policies - 2
Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17 Page 3of9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |

—
ase

“if a person commits an offense within the corporate limits of an incorporated
municipality and be pursued by a marshal or any other municipal peace or police
officer and shall escape from the municipality, such municipal peace or police
officer may pursue and apprehend such offender to places without the corporate
limits of the municipality and to any place within the State of Mississippi to which
such person may flee and may return such person to the municipality in which
such offense was committed.”

Title 41 Chapter 29 Section 159 provides addition support to the powers of
enforcement personnel:

“any duly sworn peace Officer of the State of Mississippi... may, while engaged in
the performance of his statutory duties:”

4. “Execute and serve search warrants, arrest warrants, subpoenas, and
summonses issued Under the authority of this state;’

2. ‘Make arrests without warrant for any offense under this article committed
in his presence, or if he has probable cause to believe that the person to
be arrested has committed or is committing a crime.’

Officer Responsibilities During All Arrests:
When making an arrest, officers will:

1.

2.

Use caution, planning, and established techniques to help reduce dangers to
officers, bystanders, and suspects;

Only arrest when there is an arrest warrant, reasonable belief there is an
oulstanding arrest warrant, probable cause to believe a crime has been
committed: or when a crime has been committed in the officer’s presence.
Verbally advise the suspect that they are under arrest, so a reasonable suspect
will know they are under arrest, and not free to leave; &

Take some physical action to prevent the suspect from leaving the controlling
presence of the officer:

If the officer plans to interview/interrogate the arrested suspect, read the suspect
their civil rights in compliance with the United States Constitution and State law,
to include Miranda and any other required warnings; however, such advisement
is not required if no questioning takes place or the officer defers to an
investigator. These rights include:

a. The right to remain silent,

b. Understanding that anything the suspect says may be used against them
in a court of law,

c. The right to an attorney, &

This data is proprietary and will not be duplicated, disclosed, or discussed, without the written permission of (his agency. Oata

RESTRICTED LAW ENFORCEMENT DATA
subject to this restriction is contained throughout this publication.

Page 3 of 9 1/4/2015

Policies - 3
Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17 Page 4 of 9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |

d. If the suspect cannot afford an attorney, one will be furnished by the
arresting jurisdiction at no charge; &

After each of these steps has been completed the suspect is under arrest. Most citizens
who are arrested will comply with the arrest procedure without incident. However, some
arrestees become argumentative or violent in their refusal to submit to a lawful arrest.

Arrest Procedures for Non-Compliant Individuals:

When suspects becomes argumentative, violent, or resistant to a fawful arrest the
following guidelines will be followed:

1. Only that force necessary to efficiently and safely gain the suspect's compliance
[See: Department Policy 5.1, Response to Resistance, and SOP 5.2, Response
to Resistance Training];

2. Suspects will be ted to a more neutral location {generally a police vehicle], by
arresting officer(s} when being argumentative and/or offering passive-resistance,
The minimum force necessary will always be used to affect the arrest. Verbal
assauit by itself is not justification to apply additional force,

3. lf suspecis demonstrate active-resistant behavior such as fighting, struggling, or
attempting to flee officers may use reasonable force to complete the arrest;
however, officers are reminded that the force used to apprehend a suspect
should be adjusted accordingly after the arrestee has been subdued and/or
handcuffed.

A. \f a suspect attempts to use a deadly weapon, officers will be authorized to use

deadly force to protect themselves or others from what is reasonably perceived

by the officer to be an immediate threat to human life;

Officers will exercise discretion and use caution whenever reasonably possible; &

. Officers will call for back up assistance in situations where physical force appears

imminent.

7. A Supervisor shall respond to all Response to Resistance incidents and promptly
conduct an investigation.

Do

Non-Warrant Arrest Procedures:
Officers may make non-warrant or warrant-less arrests when:

1. A felony or misdemeanor offense has been committed in their presence or view,
or

2. Officers have probable cause to believe a suspect has committed a felonious
crime or within 24 hrs of a misdemeanor offense of domestic violence.

Arrests Outside Jurisdiction of This Agency:

An officer operating outside the jurisdiction of this department may make non-warrant
arrests for felony or misdemeanor offense when the officer:

RESTRICTED LAW ENFORCEMENT DATA
This data is proprietary and will not be duplicated, disclosed, or discussed, without the wriffen permission of this agency, Dala
subject to this restriction Is contained throughout this publication.

Page 4 of 9 9/1/2015

Policies - 4
Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17. Page5of9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |

1. Observes a felony, or life threatening offense being committed; and

2. After the arrest, immediately notifies the law enforcement agency where the
arrest was made. The notified agency will take custody of the suspect.

3. Completes all reports or documents required by this department, and the agency
having primary jurisdiction.

Officer Actions Incident to Arrest:
Officers will complete the following tasks incident to arrest:

1. Search the suspect for any potential weapons, evidence, or any items that could
potentially aid in escape;

a. Searches may be conducted of the immediate area. Any
contraband/evidence of crime(s) that is observed in plain view may be
seized. Further searches of the scene can be done only with a search
warrant or by consent from an individual having authority to give consent,
Contraband/evidence of crime(s) that were observed in plain view can be
used as probable cause in procuring a search warrant if needed.

b. Search incident to a legal arrest is allowable because a custodial arrest
based upon probable cause is a reasonable intrusion under the Fourth
Amendment.

c. Asearch subsequent to a custodial arrest is permitted for the following:

i. To collect and preserve evidence,
i. The safety of the arresting Officer,
iti, To prevent escape, and
iv. To prevent weapons and contraband from entering a custodial
facility.
d. The search must be conducted as soon as possible following the arrest.
Brief reasonable delays such as transporting the subject to jail are
permissible.
e. The scope of the search will be limited to the person, the person's
clothing, and the area and articles within the person's immediate reach;
@.g., a purse or wallet. The area of the subject's immediate reach is
determined at the time of the search and arrest. If a person is arrested out
of a motor vehicle, the interior of the vehicle can be searched, with the
exception of locked areas. As a matter of departmental policy, all vehicles
that are towed will be inventoried.
2. Provide or request first aid or medical treatment;
3. Secure, package, and label actual or potential evidence;
4. Make arrangements for the security of the suspect's motor vehicle;

RESTRICTED LAW ENFORCEMENT DATA
This data is proprietary and will nol be duplicated, disclosed, or discussed, without the written permission of this agency. Data
subject to ihis restriction is contained throughout this publication.

Page 5 of 9 44/2015

Policies - 5
Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17 Page6éof9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |
5. Transport suspect in an authorized law enforcement vehicle to the jail,
investigative office or other secure facility; and, when necessary, call for an
ambulance to have suspect transported to the hospital.
6. Complete ail required reports.
7. Juvenile arrests will be completed in accordance with Department Policy 7.13.

Alternatives fo Arrest

1.

All sworn Officers of the Biloxi Department of Police have the legally mandated
authority to enforce the applicable laws, statutes and ordinances of the State of
Mississippi and the City of Biloxi, within the limits established by legal authority
set forth in Title 99 Chapter 3 Section 1 of the Annotated Code of Mississippi of
1972.

The inherent responsibility that comes with this authority requires the use of
discretion, the power to exercise judgment in the selection of a course of action
from available alternatives, tickets, summonses, referral, informal resolution and
or warning on the part of an Officer. The use of discretion by a Police Officer is
made necessary by the ambiguity of laws, the effects of actions on police
community relations, the legitimate interest of justice and fairness, and the
complexity and variety of the situations in which Police Officers find themselves,
Such situations make the use of set standard responses impractical and even
undesirable in many cases.

Situations where Departmental members will normally be confronted with
decisions that may require the use of discretion include:

a. The enforcement of laws,
b. The use of force, and
c, The resolution of conflicts or disputes.

Officer's discretion may be restricted or eliminated entirely by:

a. Law, Statute or City Ordinance;

b. Court decisions:

c. Rules and regulations of the Department;

d. Alawful order by a superior.
Any of the above may require certain actions in specific situations, effectively
eliminating the employee's discretion. In addition, any of the above may prohibit
certain actions, by an Officer in a given situation, effectively narrowing
discretionary power by eliminating one or more potential responses.

RESTRICTED LAW ENFORCEMENT DATA

This data is proprietary and will not be duplicated, disclosed, or discussed, without the written permission of this agency. Data

subject to this restriction is contained throughout this publication.

Page 6 of 9 42015

Policies - 6
Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17 Page/7of9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |

6. It is impossible to outline the precise parameters of discretion for every type of
police activity. However, concerning misdemeanors, it is generally desired that
officers exercise discretion in a manner that is consistent with:

Philosophy and goals of the Department,

The Code of Ethics and Rules of Conduct of the Department,

Pertinent laws and court decisions,

Direction, supervision, and orders received from superiors,

Departmental policies and procedures, and

The sense of justice and fairness that would be expected by the ordinary,
reasonable, and prudent member of the community.

~gao78

Post Arrest Release Citations by Officers instead of Booking

When it is lawful for a Police Officer to arrest a person without a warrant for a
misdemeanor, he may give a written Post Arrest Release Citation instead of requiring
booking and posting of bond if all of the following exist:

a. The officer has reasonable grounds to believe that the person will appear
in court;

b. The officer has no reasonable grounds to believe that the person will
cause injury to himself or another or damage to property or will continue in
the same or a similar offense unless immediately arrested and booked;

c. The person's identify has been verified and an on-duty supervisor
approves the release,

d. A Post Arrest Release Citation can be issued in most misdemeanor drug
related arrests.

in any case in which a Post Arrest Release Citation has been issued, a warrant of arrest
may later be issued in its place.

Arrestee Care & Responsibility:

The care, custody, control, and safety of suspects are the responsibility of all officers
having direct control over the arrestee. This responsibility remains in effect until the
suspect is released to person(s) outside the officer’s control. Arresting officers are
required to reasonably protect suspects from other suspects, victims, fellow officers,
and self-inflicted injuries. In some Instances, this may not be an easy task and will
require assistance from other officers.

RESTRICTED LAW ENFORCEMENT DATA
This dala is proprietary and will nol be dupticaled, disclosed, or discussed, without the written permission of this agency. Data
subject to this restriction is contained throughout this publication.

Page 7 of 9 11412016

Policies -~ 7
Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17 Page 8of9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |

Extenuating Circumstances

Foreign Diplomatic/Consular Officials

1. Diplomatic and Consular Officers should be accorded their respective privileges,

rights, and immunities as directed by international law and federal statute. These
Officials should be treated with the courtesy and respect that befit their
distinguished positions. At the same time, it is the duty of all persons enjoying
such privileges and immunities to respect local laws and regulations.

Diplomatic immunity, a principle of international law, is broadly defined as the
freedom from local jurisdiction accorded to duly accredited Diplomatic Officers,
their families, official staff, and servants who are neither nationals of nor
permanent residents in the receiving state. They are protected by unlimited
immunity from arrest, detention, or prosecution with respect to any civil or
criminal offense under current United States Law (22 U.S.C.252).

Ambassadors and Ministers are the highest-ranking diplomatic representatives of
a foreign government. Other diplomatic titles are Minister Counselor, Counselor,
First Secretary, Second Secretary, Third Secretary, and Attaché. Diplomatic
Officers, their families, official staff and servants are protected by unlimited

immunity from arrest, detention or prosecution with respect to any civil or criminal
offense; and

The State Department can identify Career Consular officials by credentials
issued. The State Department credential bears its seal, the name of the Official,
his title, and the signatures of State Department officials. Honorary Consular
Officials do not receive identification cards from the State Department, but may
exhibit reduced size copies of the diplomatic note evidencing recognition by the
United States Government. These individuals are not immune from arrest or
detention. Family members of a Consular Official cannot claim immunity.

United States Congressmen/State Legislators

1.

According to State Law, members of the United States Congress, in accordance
with law, will in all cases except treason, felony and breach of the peace, be
immune from arrest during their attendance at the session of their respective
houses, and in going to and returning from the same; and for any speech or
debate in either house: they will not be questioned in any other place; and

Members of State Legislatures in some cases have the same immunity granted
to members of Congress. The common law prevails which privileges them from
arrest while attending, going to or returning from a session of their respective

This data is proprietary and will not be duplicated, disclosed, or discussed, without the wrillen permission of this agency. Data

RESTRICTED LAW ENFORCEMENT DATA
subject to this restriction is contained throughout this publication.

Page 8 of 9 4/1/2015

Policies - 8
Case 1:16-cv-00113-LG-RHW Document 78-6 Filed 05/12/17 Page9of9

| Law Enforcement Policies and Procedures, 4.8 Arrest Procedures |

houses.
Military Personnel

1. Military personnel are subject to all Federal and State laws, and local ordinances
while in the City of Biloxi. Officers arresting a member of the military should
consider contacting the nearest appropriate military law enforcement agency and
briefing them on the arrest. If the arrest is for misdemeanor charges,
consideration should be given to allowing a ranking member in the arrestee’s
chain of command to sign the surety bond and take control of the arrestee.
Felony arrests will be processed in accordance with department policy 4.10.

2. Armed forces personnel, for these purposes, will include regular members of the
Army, Navy, Air Force, Marine Corps, Coast Guard, National Guard and
reservists who are on active duty.

RESTRICTED LAW ENFORCEMENT DATA
This data is proprietary and will not be duplicated, disclosed, or discussed, without the wrilten permission of this agency. Data
subject to this restriction is contained throughout this publication,

Page 9 of 8 1/1/2016

Policies - 9
